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                                    October 21, 2020



VIA ECF
Hon. Valerie E. Caproni
United States District Judge
United States Courthouse
40 Foley Square
New York, NY 10007

Re: SEC v. Kamensky, (1:20-cv-07193) (VEC) (S.D.N.Y.)

Dear Judge Caproni,

        Plaintiff Securities and Exchange Commission and counsel for Defendant Daniel
B. Kamensky respectfully jointly write Your Honor seeking clarification of the Court’s
Order dated October 20, 2020 (DE # 18), which granted the Government’s unopposed
motions to intervene and for a stay of discovery in these proceedings (DE # 17). Because
the Government’s motion was styled as a motion for a “stay of discovery,” the parties
wish to clarify and confirm with Your Honor that the stay, as granted by the Court,
applies to the entirety of this matter and for all purposes.

       Please feel free to contact me if you have any questions or need additional
information.


                                             Respectfully submitted,


                                              s/ Alexander M. Vasilescu
                                             Alexander M. Vasilescu
                                             Regional Trial Counsel



cc:    Joseph P. Ceglio, Esq. (via e-mail)
       Joon H. Kim, Esq. (via e-mail)
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The Honorable Valerie E. Caproni
October 21, 2020
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